                                                           Case 21-01167-abl       Doc 126    Entered 10/01/22 00:23:06        Page 1 of 5



                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                                                                    Adversary Case No. 21-01167-abl
                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,                                           APPENDIX OF EXHIBITS TO
                                                                                                                    PLAINTIFF HASELECT-MEDICAL
                                                      16                         Plaintiff,                            RECEIVABLES LITIGATION
                                                                                                                    FINANCE FUND INTERNATIONAL
                                                      17   v.                                                       SP’S OPPOSITION TO TECUMSEH-
                                                                                                                    INFINITY MEDICAL RECEIVABLE
                                                      18   TECUMSEH–INFINITY MEDICAL                                    FUND, LP’S MOTION FOR
                                                           RECEIVABLES FUND, LP,                                     PARTIAL SUMMARY JUDGMENT
                                                      19                                                               AS TO CERTAIN DISPUTED
                                                                                Defendant.                                   RECEIVABLES
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Plaintiff,                   Hearing Date: October 25, 2022
                                                      23                                                            Hearing Time: 1:30 p.m.
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      26
                                                                                Counter-Defendants.
                                                      27

                                                      28


                                                                                                      Page 1 of 5
                                                           Case 21-01167-abl       Doc 126     Entered 10/01/22 00:23:06        Page 2 of 5



                                                           HASELECT-MEDICAL RECEIVABLES
                                                       1   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                       2
                                                                          COUNTER-CLAIMANT,
                                                       3   V.
                                                           TECUMSEH–INFINITY MEDICAL
                                                       4   RECEIVABLES FUND, LP,
                                                       5                        COUNTER-DEFENDANT.
                                                       6

                                                       7          PLEASE TAKE NOTICE that Plaintiff HASelect-Medical Receivables Litigation Finance

                                                       8   Fund International SP (“HASelect”) hereby lodges the following exhibits, true and correct copies of

                                                       9   which are attached hereto:

                                                      10
                                                            Exhibit #     Description of Exhibit
                                                      11
                                                            Exhibit 1     December 18, 2019 Second Amended & Restated Loan and Security Agreement
              1731 Village Center Circle, Suite 150




                                                      12                  and Promissory Note
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                            Exhibit 2     February 19, 2019 UCC-1 Filing
                                                      13
                        (702) 471-7432




                                                            Exhibit 3     Excerpts from Transcript of November 10, 2021 Rule 2004 Examination of
                                                      14                  Oliver Hemmers

                                                      15    Exhibit 4     Excerpts from Transcript of November 9, 2021 Rule 2004 Examination of Anne
                                                                          Pantelas
                                                      16    Exhibit 5     Chicago State Court Complaint
                                                      17    Exhibit 6     Infinity History
                                                            Exhibit 7     February 11, 2019 Email re Coastal Notes
                                                      18
                                                            Exhibit 8     February 14, 2019 Email re Infinity Loan Obligations
                                                      19
                                                            Exhibit 9     February 6, 2018 LFG Notice of Default
                                                      20    Exhibit 10    February 15, 2019 Email re Undisclosed Loans
                                                      21    Exhibit 11    8480 Account Statements
                                                      22    Exhibit 12    December 26, 2019 Draw Request
                                                            Exhibit 13    October 29, 2019 re HealthPlus Account Collections
                                                      23
                                                            Exhibit 14    Chicago Federal Court Complaint
                                                      24
                                                            Exhibit 15    Various Emails re Tecumseh Solicitation of Infinity
                                                      25    Exhibit 16    June 3, 2020 Email re HIPAA Compliance
                                                      26    Exhibit 17    May 25, 2020 Email re Hemmers’ Complaints

                                                      27    Exhibit 18    May 21, 2020 Email with Excerpt of Attached Pitch Deck
                                                            Exhibit 19    June 18, 2020 Email with Excerpt of Attached PPM
                                                      28


                                                                                                      Page 2 of 5
                                                           Case 21-01167-abl     Doc 126      Entered 10/01/22 00:23:06       Page 3 of 5



                                                           Exhibit #    Description of Exhibit
                                                       1
                                                           Exhibit 20   July 11, 2020 Email re Three Bell Capital
                                                       2
                                                           Exhibit 21   Transcript of October 27, 2021 Meeting of Creditors
                                                       3   Exhibit 22   Operating Account Statements
                                                       4   Exhibit 23   BOA Account Statements
                                                           Exhibit 24   August 17, 2021 Email re Open Position Reports with Attached Collections
                                                       5                Report
                                                       6   Exhibit 25   Excerpts from Transcript of November 18, 2021 Rule 2004 Examination of
                                                                        Oliver Hemmers
                                                       7
                                                           Exhibit 26   Excerpts of Tecumseh’s Responses to HASelect’s First Set of Requests for
                                                       8                Production of Documents
                                                           Exhibit 27   Tecumseh’s Responses to HASelect’s First Set of Interrogatories
                                                       9
                                                           Exhibit 28   Stat Diagnostics Contract
                                                      10
                                                           Exhibit 29   Stat Diagnostics Payment Example
                                                      11   Exhibit 30   Accounting of Face Value of Stat Diagnostic, Preva, and Viking Receivables
              1731 Village Center Circle, Suite 150




                                                      12   Exhibit 31   Preva Contract
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Exhibit 32   Preva Payment Example
                        (702) 471-7432




                                                           Exhibit 33   Viking Contract
                                                      14
                                                           Exhibit 34   Viking Payment Example
                                                      15
                                                           Exhibit 35   Check Payments to Infinity
                                                      16   Exhibit 36   Check Deposits to BOA Account
                                                      17   Exhibit 37   HealthPlus Contract
                                                           Exhibit 39   April 4, 2022 ADV Form
                                                      18
                                                           Exhibit 40   January 22, 2021 Email Tecumseh Purchase Order
                                                      19

                                                      20

                                                      21         Dated this 30th day of September 2022.
                                                                                                          SHEA LARSEN
                                                      22
                                                                                                          /s/ Bart K. Larsen, Esq.
                                                      23                                                  BART K. LARSEN, ESQ.
                                                                                                          Nevada Bar No. 8538
                                                      24                                                  KYLE M. WYANT, ESQ.
                                                                                                          Nevada Bar No. 14652
                                                      25                                                  1731 Village Center Circle, Suite 150
                                                                                                          Las Vegas, Nevada 89134
                                                      26
                                                                                                          Attorneys for HASelect-Medical Receivables
                                                      27                                                  Litigation Finance Fund International SP

                                                      28


                                                                                                     Page 3 of 5
                                                           Case 21-01167-abl        Doc 126   Entered 10/01/22 00:23:06        Page 4 of 5



                                                                                           CERTIFICATE OF SERVICE
                                                       1
                                                                1.    On September 30, 2022, I served the following document(s): APPENDIX OF
                                                       2              EXHIBITS TO PLAINTIFF HASELECT-MEDICAL RECEIVABLES
                                                                      LITIGATION FINANCE FUND INTERNATIONAL SP’S OPPOSITION TO
                                                       3              TECUMSEH-INFINITY MEDICAL RECEIVABLE FUND, LP’S MOTION
                                                                      FOR PARTIAL SUMMARY JUDGMENT AS TO CERTAIN DISPUTED
                                                       4              RECEIVABLES.
                                                       5        2.    I served the above document(s) by the following means to the persons as listed
                                                                      below:
                                                       6
                                                                      ☒        a.       ECF System:
                                                       7
                                                                      CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       8              clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       9              GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                      10              ggordon@gtg.legal, bknotices@gtg.legal
                                                      11              GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
              1731 Village Center Circle, Suite 150




                                                                      RECEIVABLES FUND, LP
                                                      12              ghamm@Gtg.legal, bknotices@gtg.legal
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                      MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                      14              michael.napoli@akerman.com,
                                                                      cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      15              @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      16              ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                      17              ariel.stern@akerman.com, akermanlas@akerman.com
                                                      18              ☐        b.       United States mail, postage fully prepaid:
                                                      19              ☐        c.       Personal Service:
                                                      20              I personally delivered the document(s) to the persons at these addresses:
                                                      21                              ☐       For a party represented by an attorney, delivery was made by
                                                                      handing the document(s) at the attorney’s office with a clerk or other person in
                                                      22              charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                      in the office.
                                                      23
                                                                                      ☐       For a party, delivery was made by handling the document(s)
                                                      24              to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                      place of abode with someone of suitable age and discretion residing there.
                                                      25
                                                                      ☐       d.      By direct email (as opposed to through the ECF System):
                                                      26              Based upon the written agreement of the parties to accept service by email or a
                                                                      court order, I caused the document(s) to be sent to the persons at the email
                                                      27              addresses listed below. I did not receive, within a reasonable time after the
                                                                      transmission, any electronic message or other indication that the transmission was
                                                      28


                                                                                                      Page 4 of 5
                                                           Case 21-01167-abl        Doc 126   Entered 10/01/22 00:23:06         Page 5 of 5



                                                                      unsuccessful.
                                                       1
                                                                      ☐        e.       By fax transmission:
                                                       2
                                                                      Based upon the written agreement of the parties to accept service by fax
                                                       3              transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                      numbers listed below. No error was reported by the fax machine that I used. A copy
                                                       4              of the record of the fax transmission is attached.
                                                       5              ☐        f.       By messenger:
                                                       6              I served the document(s) by placing them in an envelope or package addressed to
                                                                      the persons at the addresses listed below and providing them to a messenger for
                                                       7              service.
                                                       8              I declare under penalty of perjury that the foregoing is true and correct.
                                                       9              Dated: September 30, 2022.
                                                      10                                                By: /s/ Bart K. Larsen, Esq,
                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14

                                                      15

                                                      16

                                                      17

                                                      18

                                                      19

                                                      20

                                                      21

                                                      22

                                                      23

                                                      24

                                                      25

                                                      26

                                                      27

                                                      28


                                                                                                     Page 5 of 5
